       Case 1:23-cr-00257-TSC Document 113 Filed 10/23/23 Page 1 of 31




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

  v.                                      Case No. 1:23-cr-00257-TSC

DONALD J. TRUMP,

               Defendant.




PRESIDENT TRUMP’S MOTION TO DISMISS THE INDICTMENT BASED ON
   CONSTITUTIONAL GROUNDS AND MEMORANDUM IN SUPPORT




                                      1
         Case 1:23-cr-00257-TSC Document 113 Filed 10/23/23 Page 2 of 31




                                        INTRODUCTION

       The prosecution opens its indictment by stating that President Trump “had a right, like

every American, to speak publicly about the election,” including his deeply held view that there

had been fraud and other irregularities “during the election and that he had won.” Doc. 1 at ¶ 3

(Indictment). These points are not in dispute. Nonetheless, in an astonishing display of

doublethink, the prosecution simultaneously claims that President Trump—simply by speaking his

mind and petitioning for a redress of grievances—also somehow conspired to “defraud the United

States,” “oppress rights,” and “obstruct an official proceeding.” Id. at ¶ 5–6, 125–130. Attempting

to explain this obvious contradiction, the prosecution argues that there was no “outcome-

determinative fraud in the election” (whatever that means), id. at ¶ 2, and that President Trump

supposedly knew this because some government officials “notified” him “that his claims were

untrue,” ¶ 11.

       If there is any constant in our democratic system of governance, it is that the marketplace

of ideas—not the mandates of government functionaries or partisan prosecutors—determines the

scope of public debate. Countless millions believe, as President Trump consistently has and

currently does, that fraud and irregularities pervaded the 2020 Presidential Election. As the

indictment itself alleges, President Trump gave voice to these concerns and demanded that

politicians in a position to restore integrity to our elections not just talk about the problem, but

investigate and resolve it. See id. at ¶ 10(a) (state legislators and election officials) act); ¶ 10(b)

(Vice President and other government officials); ¶ 10(c) (state officials); ¶ 10(d) (vice president); ¶

10(e) (members of Congress).

       The First Amendment embraces and encourages exactly this kind of behavior, and

therefore states in the clearest of terms that “Congress shall make no law . . . abridging the freedom




                                                  2
        Case 1:23-cr-00257-TSC Document 113 Filed 10/23/23 Page 3 of 31




of speech, . . . or the right of the people peaceably to assemble, and to petition the Government for

a redress of grievances.” U.S. CONST. amend. I. The indictment, taken as true, violates this core

principle as to each count. Accordingly, the Court should dismiss the indictment in its entirety.

       Additionally, as the United States Senate has previously tried and acquitted President

Trump for charges arising from the same course of conduct alleged in the indictment, the

impeachment and double jeopardy clauses both bar retrial before this Court and require dismissal.

       Finally, because of our country’s longstanding tradition of forceful political advocacy

regarding perceived fraud and irregularities in numerous Presidential elections, President Trump

lacked fair notice that his advocacy in this instance could be criminalized. Thus, the Court should

dismiss the indictment under the Due Process clause as well.

                                           ARGUMENT

       “In ruling on a motion to dismiss for failure to state an offense, a district court is” typically

“limited to reviewing the face of the indictment and, more specifically, the language used to charge

the crimes.” United States v. Sunia, 643 F. Supp. 2d 51, 60 (D.D.C. 2009). “When considering a

motion to dismiss, the court must review the face of the indictment,” and “the indictment must be

viewed as a whole and the allegations must be accepted as true at this stage of the proceedings.”

United States v. Weeks, 636 F. Supp. 3d 117, 120 (D.D.C. 2022).

       President Trump fully denies the allegations in the indictment which are referenced in this

motion and memorandum. Rather, this memorandum sets forth the facts alleged in the indictment

so that their legal sufficiency may be assessed for a motion to dismiss. Id.




                                                  3
        Case 1:23-cr-00257-TSC Document 113 Filed 10/23/23 Page 4 of 31




I.     The Indictment Should Be Dismissed Because It Seeks to Criminalize Core Political
       Speech and Advocacy Protected by the First Amendment.

       First and foremost, the indictment must be dismissed because it seeks to criminalize core

political speech and advocacy that lies at the heart of the First Amendment.1

       A.      The Government May Not Prohibit Core Political Speech on Matters of Public
               Concern, Regardless of Its Supposed Truth or Falsity.

       In United States v. Alvarez, the Supreme Court reaffirmed the broad scope of the First

Amendment, holding that it protects even the verifiably false claim that the speaker had been

awarded the Congressional Medal of Honor. 567 U.S. 709, 729 (2012) (plurality opinion of

Kennedy, J.); id. at 739 (Breyer, J., concurring in the judgment).

       Alvarez produced multiple opinions, see id., but on one key point, all nine Justices were

unanimous: Under the First Amendment, the Government may not prohibit or criminalize speech

on disputed social, political, and historical issues simply because the Government determines that

some views are “true” and others are “false.” See id. “Our constitutional tradition stands against

the idea that we need Oceania’s Ministry of Truth.” Id. at 723 (citing GEORGE ORWELL, NINETEEN

EIGHTY–FOUR (1949) (Centennial ed. 2003)).

       The four-Justice plurality opinion of Justice Kennedy was emphatic on this point, rejecting

the notion that the “government [may] decree this speech [about receiving medals] to be a criminal

offense, whether shouted from the rooftops or made in a barely audible whisper,” as such an

approach “would endorse government authority to compile a list of subjects about which false


1
 As explained in President Trump’s Motion to Dismiss Based on Presidential Immunity, all acts
charged in the indictment were performed within the “outer perimeter” of his official duties as
President. Doc. 74, at 21-45. As explained in that Motion, and conceded in the Government’s
Blassingame amicus brief, the fact that President Trump’s alleged actions were conducted within
his official duties is fully consistent with those actions also involving the exercise of his First
Amendment rights. See, e.g., id. at 26-27 (“[I]t is commonplace for a President’s speech to have
dual roles—both an official and personal character.”).



                                                 4
         Case 1:23-cr-00257-TSC Document 113 Filed 10/23/23 Page 5 of 31




statements are punishable. That governmental power has no clear limiting principle.” Id. at 723.

Thus, disavowing “Oceania’s Ministry of Truth,” id., Justice Kennedy rejected any rule that would

“give government a broad censorial power unprecedent in this Court’s cases or in our

constitutional tradition. The mere potential for the exercise of that power casts a chill, a chill the

First Amendment cannot permit if free speech, thought, and discourse are likely to remain a

foundation of our freedom.” Id. Instead,

        [t]he remedy for speech that is false is speech that is true. This is the ordinary course
        in a free society. The response to the unreasoned is the rational; to the uninformed,
        the enlightened; to the straightout lie, the simple truth.… The theory of our
        Constitution is “that the best test of truth is the power of the thought to get itself
        accepted in the competition of the market.”… Freedom of speech and thought flows
        not from the beneficence of the state but from the inalienable rights of the person.
        And suppression of speech by the government can make exposure of falsity more
        difficult, not less so…. These ends are not well served when the government seeks
        to orchestrate public discussion through content-based mandates.

Id. at 727-28 (quoting Abrams v. United States, 250 U.S. 616, 630 (1919) (Holmes, J., dissenting)).

“Only a weak society needs government protection or intervention before it pursues its resolve to

preserve the truth. Truth needs neither handcuffs nor a badge for its vindication.” Id. at 729.

        Justice Breyer’s two-Justice concurrence in Alvarez likewise endorsed this same point,

quoting Justice Alito for the proposition that “there are broad areas in which any attempt by the

state to penalize purportedly false speech would present a grave and unacceptable danger of

suppressing truthful speech,” which include “[l]aws restricting false statements about philosophy,

religion, history, the social sciences, the arts, and the like.” See id. at 731-32 (Breyer, J., concurring

in the judgment). These topics—which are often the subject of vigorous public debate—rarely

have clear or verifiable answers (hence, the controversy), and therefore citizens must be given

“breathing room” to speak their minds without fear of, as here, being criminally prosecuted by

government officials that do not like what they have to say. See id. at 733.




                                                    5
        Case 1:23-cr-00257-TSC Document 113 Filed 10/23/23 Page 6 of 31




       Indeed, Justice Breyer concluded that “the threat of criminal prosecution for making a false

statement can inhibit the speaker from making true statements, thereby ‘chilling’ a kind of speech

that lies at the First Amendment's heart.” Id. at 733. Justice Breyer further emphasized that

criminalizing supposedly “false” statements on such not “easily verifiable,” politically

controversial topics “provides a weapon to a government broadly empowered to prosecute falsity

without more. And those who are unpopular may fear that the government will use that weapon

selectively….” Id. at 734; see also id. at 736 (emphasizing that “in political contexts, … the risk

of censorious selectivity by prosecutors is … high”); id. at 738 (“In the political arena … criminal

prosecution is particularly dangerous … and consequently can more easily result in censorship of

speakers and their ideas.”).2

       Justice Alito’s three-Justice dissent in Alvarez—the opinion least protective of speech in

that case—endorsed the same conclusion. As noted above, Justice Alito’s dissent recognized that

       there are broad areas in which any attempt by the state to penalize purportedly false speech
       would present a grave and unacceptable danger of suppressing truthful speech. Laws
       restricting false statements about philosophy, religion, history, the social sciences, the arts,
       and other matters of public concern would present such a threat. The point is not that there
       is no such thing as truth or falsity in these areas or that the truth is always impossible to
       ascertain, but rather that it is perilous to permit the state to be the arbiter of truth.

United States v. Alvarez, 567 U.S. 709, 751–52 (2012) (Alito, J., dissenting) (emphasis added).

“Even where there is a wide scholarly consensus concerning a particular matter, the truth is served

by allowing that consensus to be challenged without fear of reprisal. Today’s accepted wisdom

sometimes turns out to be mistaken.” Id. at 752. “And in these contexts, ‘even a false statement



2
 Although Justice Breyer suggested false statements concerning “easily verifiable facts” might be
afforded less First Amendment protection, as discussed infra, questions of election integrity are
by no means “easily verifiable,” and are certainly unlike the statements in Alvarez regarding receipt
of the Medal of Honor, which Justice Breyer nonetheless concluded were protected by the First
Amendment.



                                                  6
         Case 1:23-cr-00257-TSC Document 113 Filed 10/23/23 Page 7 of 31




may be deemed to make a valuable contribution to public debate, since it brings about ‘the clearer

perception and livelier impression of truth, produced by its collision with error.’” Id. (quoting New

York Times v. Sullivan, 376 U.S. at 279 n.19 (quoting JOHN STUART MILL, ON LIBERTY 15 (R.

McCallum ed. 1947))).

        In addition, “[a]llowing the state to proscribe false statements in these areas also opens the

door for the state to use its power for political ends,” id.—a concern that is maximal in this case,

where a sitting President’s Administration is prosecuting his chief political opponent for

supposedly making “false” claims challenging the validity of the sitting President’s election. “If

some false statements about historical events may be banned, how certain must it be that a

statement is false before the ban may be upheld? And who should make that calculation?” Id.

“While our cases prohibiting viewpoint discrimination would fetter the state’s power to some

degree, the potential for abuse of power in these areas is simply too great.” Id. (emphasis added).

        Thus, Alvarez reflects the Supreme Court’s unanimous consensus that claims about widely

disputed social, political, and historical questions—i.e., “matters of public concern,” id. at 752—

are protected by the First Amendment, regardless of the Government’s view on supposed “truth”

or “falsity.” In fact, as Justice Alito’s discussion demonstrates, such claims are protected by the

First Amendment especially when the Government deems them “false.” See id. Thus, claims about

the integrity of the 2020 Presidential election—including claims that the election was “rigged,”

“stolen,” and/or tainted by outcome-determinative fraud—are fully protected by the First

Amendment, regardless of the Government’s view of their truth or falsity. Indeed, in such areas,

“it is perilous to permit the state to be the arbiter of truth.” Id. at 752 (Alito, J., dissenting).

        This conclusion that the First Amendment fully protects opinions and claims on widely

disputed political and historical issues—such as the integrity of the 2020 Presidential election—




                                                     7
         Case 1:23-cr-00257-TSC Document 113 Filed 10/23/23 Page 8 of 31




draws further support from the most basic principles of the Supreme Court’s First Amendment

jurisprudence. Such claims constitute (1) core political speech, on (2) matters of enormous public

concern, where suppressing the speech constitutes (3) forbidden viewpoint discrimination.

       Speech on matters of public concern. “Speech on matters of public concern is at the heart

of the First Amendment’s protection. That is because speech concerning public affairs is more than

self-expression; it is the essence of self-government. Accordingly, speech on public issues

occupies the highest rung of the hierarchy of First Amendment values, and is entitled to special

protection.” Snyder v. Phelps, 562 U.S. 443, 451–52 (2011) (cleaned up; citations omitted) (citing

numerous cases). “Speech deals with matters of public concern when it can be fairly considered as

relating to any matter of political, social, or other concern to the community, or when it is a subject

of legitimate news interest; that is, a subject of general interest and of value and concern to the

public.” Id. at 452-53. And Justice Alito’s dissent in Alvarez explicitly stated that the areas where

the First Amendment does not permit the criminalization of supposedly “false” statements can be

summarized as those involving “matters of public concern.” 567 U.S. at 751–52 (Alito, J.,

dissenting). Speech disputing the outcome of the 2020 election unquestionably constitutes speech

on “matters of public concern.” See id.

       Core political speech. Indeed, such speech constitutes core political speech, and First

Amendment protection is “at its zenith” when the government attempts to restrict “core political

speech.” Buckley v. Am. Const. Law Found., Inc., 525 U.S. 182, 186–87 (1999); see also Meyer v.

Grant, 486 U.S. 414, 425 (1988) (speech that “at the core of our electoral process and of the First

Amendment freedoms—an area … where protection of robust discussion is at its zenith”) (citations

and quotations omitted). Such “core political speech” encompasses any “advocacy of a politically

controversial viewpoint.” McIntyre v. Ohio Elec. Comm’n, 514 U.S. 334, 347 (1995). “No form




                                                  8
         Case 1:23-cr-00257-TSC Document 113 Filed 10/23/23 Page 9 of 31




of speech is entitled to greater constitutional protection than” core political speech. Id. This is

especially true of speech relating to elections, since the First Amendment’s “constitutional

guarantee has its fullest and most urgent application precisely to the conduct of campaigns for

political office.” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 162 (2014) (quoting Monitor

Patriot Co. v. Roy, 401 U.S. 265, 272 (1971)).

        Viewpoint discrimination. Further, attempts to prohibit or criminalize claims on political

disputes—such as the integrity and outcome of the 2020 Presidential election—inevitably target

speech on the basis of viewpoint, which is the least tolerable of First Amendment violations. “It is

axiomatic that the government may not regulate speech based on its substantive content or the

message it conveys.” Rosenberger v. Rector & Visitors of Univ. of Virginia, 515 U.S. 819, 828

(1995). “When the government targets not subject matter, but particular views taken by speakers

on a subject, the violation of the First Amendment is all the more blatant.” Id. at 829. “Viewpoint

discrimination is thus an egregious form of content discrimination. The government must abstain

from regulating speech when the specific motivating ideology or the opinion or perspective of the

speaker is the rationale for the restriction.” Id.

        The fact that the indictment alleges that the speech at issue was supposedly, according to

the prosecution, “false” makes no difference. Under the First Amendment, each individual

American participating in a free marketplace of ideas—not the federal Government—decides for

him or herself what is true and false on great disputed social and political questions. As noted

above, “[o]ur constitutional tradition stands against the idea that we need Oceania's Ministry of

Truth.” Alvarez, 567 U.S. at 723. “Permitting the government to decree this [false] speech to be a

criminal offense … would endorse government authority to compile a list of subjects about which

false statements are punishable. That governmental power has no clear limiting principle.” Id.




                                                     9
        Case 1:23-cr-00257-TSC Document 113 Filed 10/23/23 Page 10 of 31




Thus, “falsity alone may not suffice to bring the speech outside the First Amendment.” Id. at 719.

“Absent from those few categories where the law allows content-based regulation of speech is any

general exception to the First Amendment for false statements. This comports with the common

understanding that some false statements are inevitable if there is to be an open and vigorous

expression of views in public and private conversation, expression the First Amendment seeks to

guarantee.” Id. at 718. “The erroneous statement is inevitable in free debate.” Id. (quoting New

York Times v. Sullivan, 376 U.S. 254, 271 (1964)).

                                                 ***

       The indictment therefore attempts to criminalize core political speech and political

advocacy, which is categorically impermissible under the First Amendment. As the Supreme Court

held in Texas v. Johnson, “[i]f there is a bedrock principle underlying the First Amendment, it is

that the government may not prohibit the expression of an idea simply because society finds the

idea itself offensive or disagreeable.” Texas v. Johnson, 491 U.S. 397, 414 (1989) (citing 14 cases

for this proposition). “[I]t is a central tenet of the First Amendment that the government must

remain neutral in the marketplace of ideas.” Hustler Mag., Inc. v. Falwell, 485 U.S. 46, 56 (1988)

(quoting FCC v. Pacifica Foundation, 438 U.S. 726, 745-46 (1978)). “[A]bove all else, the First

Amendment means that government has no power to restrict expression because of its message,

its ideas, its subject matter, or its content.” Police Dep’t of City of Chicago v. Mosley, 408 U.S.

92, 95 (1972).

       The indictment here does not merely criminalize conduct with an incidental impact on

protected speech; instead, it directly targets core protected speech and activity. For this reason, it

is categorically invalid under the First Amendment. “Clearly, government has no power to restrict




                                                 10
        Case 1:23-cr-00257-TSC Document 113 Filed 10/23/23 Page 11 of 31




such activity because of its message.” Grayned v. City of Rockford, 408 U.S. 104, 115 (1972). That

is precisely what the indictment attempts to do here.

 For similar reasons, the indictment is invalid under any level of scrutiny. As noted above, the

indictment imposes viewpoint-based restrictions on core political speech on matters of the highest

public concern with extremely severe penalties, and thus if any scrutiny applies, it is the strictest

form of scrutiny. Yet regardless, the prosecution cannot show any interest (let alone a compelling

or substantial one) in punishing such First Amendment-protected activity. The prosecution has no

valid interest in silencing disfavored viewpoints or preventing people from advocating such

disfavored viewpoints to government officials. See, e.g., United States v. Eichman, 731 F. Supp.

1123, 1131 (D.D.C.), aff’d, 496 U.S. 310 (1990) (“However compelling the government may see

its interests, they cannot justify restrictions on speech which shake the very cornerstone of the First

Amendment.”). Furthermore, no amount of tailoring can save such a restriction, because its entire

impact is focused on punishing the exercise of core political speech. See Doc. 1; see also, e.g.,

United States v. Popa, 187 F.3d 672, 677 (D.C. Cir. 1999) (“Punishment of those who use the

telephone to communicate a political message is obviously not ‘essential to the furtherance of that

[government] interest.’”). The indictment is precisely tailored to violate free-speech rights, not

narrowly tailored to avoid violating them. See id. This is the antithesis of narrow tailoring.

 Finally, if the indictment validly applies the language of the statute, that renders the statute both

unconstitutional as applied and unconstitutional on its face, under the First Amendment

overbreadth doctrine. Under the prosecution’s interpretation, the statute sweeps in the

criminalization of large amounts of “pure speech,” and thus it suffers from “overbreadth” that is

“not only … real, but substantial as well, judged in relation to the statute’s plainly legitimate

sweep.” Broadrick v. Oklahoma, 413 U.S. 601, 615 (1973).




                                                  11
        Case 1:23-cr-00257-TSC Document 113 Filed 10/23/23 Page 12 of 31




       B.      The First Amendment Protection for Opinions on Politically Charged
               Disputes Extends to Statements Advocating the Government to Act.

       Because the First Amendment confers absolute protection on public statements about hotly

disputed social, political, and historical topics and other matters of public concern, including those

which are supposedly “false,” it confers the same protection on the same statements made in

advocating for government officials to act on one’s views. The First Amendment protects the right

“to petition the Government for a redress of grievances” in the same clause as “the freedom of

speech.” U.S. CONST. amend. I. When it comes to what speech is protected, the right to petition is

coextensive with the right to speak—a claim protected under the Amendment’s right to “freedom

of speech” is equally protected when the same claim is made while “petition[ing] the

Government.” Id. As the Supreme Court stated, “[t]he right to petition is cut from the same cloth

as the other guarantees of that Amendment, and is an assurance of a particular freedom of

expression.” McDonald v. Smith, 472 U.S. 479, 482 (1985).

       For this reason, in McDonald, the Supreme Court consulted the right to freedom of speech

to determine what statements are protected when exercising the right to petition the government.

McDonald concerned a libel lawsuit brought against a man who sent letters to President Reagan

making allegedly libelous claims about a potential political appointee. 472 U.S. at 480-81. The

libel defendant claimed that he had absolute immunity from libel suit because the allegedly

libelous statements were made in the course of petitioning the Government. Id. at 481-82. The

Supreme Court rejected this claim, holding instead that the scope of First Amendment protection

for claims made while petitioning government officials is coextensive with the scope of First

Amendment protection for public statements under the Free Speech Clause. Id. at 484-85. Because

libel falls within a well-established First Amendment exception, libel made in statements to

government officials is likewise unprotected under the Petition Clause of the First Amendment.



                                                 12
        Case 1:23-cr-00257-TSC Document 113 Filed 10/23/23 Page 13 of 31




Id. at 485. In so holding, the Supreme Court made clear that the Free Speech Clause and the

Petition Clause are on identical footing, establishing the same levels of protection for speech:

       To accept petitioner’s claim of absolute immunity would elevate the Petition Clause to
       special First Amendment status. The Petition Clause, however, was inspired by the same
       ideals of liberty and democracy that gave us the freedoms to speak, publish, and assemble.
       These First Amendment rights are inseparable, and there is no sound basis for granting
       greater constitutional protection to statements made in a petition to the President than
       other First Amendment expressions.

Id. at 485 (citations omitted) (emphasis added). The same logic applies here. Just as there is “no

sound basis for granting greater protection to statements made in a petition … than other First

Amendment expressions,” id., so also there is no sound basis for granting lesser constitutional

protection to the same statements. After all, the Petition Clause reflects “the same ideals of liberty

and democracy that gave us the freedoms to speak, publish, and assemble.” Id. Thus, speech that

is protected by the Free Speech Clause when made in a public forum retains its full protection

when it is made to Government officials in the course of petitioning them to action. See id.

       This conclusion draws further support from McDonnell v. United States, 579 U.S. 550

(2016). In McDonnell, the Government prosecuted the Governor of Virginia using an

interpretation of the phrase “official act” in 18 U.S.C. § 201 that would have criminalized a broad

range of ordinary political lobbying of public officials: “Section 201 prohibits quid pro quo

corruption—the exchange of a thing of value for an ‘official act.’ In the Government’s view, nearly

anything a public official accepts—from a campaign contribution to lunch—counts as a quid; and

nearly anything a public official does—from arranging a meeting to inviting a guest to an event—

counts as a quo.” Id. at 575. The Supreme Court unanimously held that “[i]n addition to being

inconsistent with both text and precedent, the Government’s expansive interpretation of ‘official

act’ would raise significant constitutional concerns,” id. at 574, precisely because it threatened to




                                                 13
        Case 1:23-cr-00257-TSC Document 113 Filed 10/23/23 Page 14 of 31




criminalize a broad range of ordinary political activity done in furtherance of petitioning the

Government under the First Amendment:

        [C]onscientious public officials arrange meetings for constituents, contact other officials
        on their behalf, and include them in events all the time. The basic compact underlying
        representative government assumes that public officials will hear from their constituents
        and act appropriately on their concerns…. The Government’s position could cast a pall of
        potential prosecution over these relationships….. Officials might wonder whether they
        could respond to even the most commonplace requests for assistance, and citizens with
        legitimate concerns might shrink from participating in democratic discourse.

Id. at 575 (second emphasis added). So also here, permitting the prosecution to criminalize First

Amendment-protected statements simply because they were made to government officials would

violate “[t]he basic compact of representative government” and cause “citizens with legitimate

concerns” to “shrink from participating in democratic discourse.” Id. Consider any number of

disfavored claims on a host of controversial topics, all deemed to be demonstrably “false” and

“disinformation” by the Government at various times—such as claiming that masks do not stop

the transmission of COVID-19, that vaccines do not stop the transmission of COVID-19, that

COVID-19 originated from a lab in Wuhan, China, and that the 2020 Presidential election was

stolen. Can the Government prosecute a citizen for attempting to “defraud the United States” by

making supposedly “false” statements to government officials for (1) opposing mask mandates by

telling legislators that they don’t stop transmission, (2) opposing vaccine mandates by telling

legislators that they don’t stop transmission, and/or (3) urging the investigation of China by telling

government officials that COVID-19 leaked from a lab? Under the First Amendment, the answer

is “no”—and that absolutely applies to claims that the 2020 Presidential election was stolen as

well.




                                                 14
        Case 1:23-cr-00257-TSC Document 113 Filed 10/23/23 Page 15 of 31




        C.      The First Amendment Does Not Permit the Government to Prosecute a Citizen
                for Claiming That the 2020 Presidential Election Was Stolen.

        Thus, under the First Amendment, the prosecution cannot criminalize claims that the 2020

Presidential election was stolen; and it cannot, by prosecution, seek to impose its view on a

disputed political question like the integrity of the 2020 Presidential election. “If there is any fixed

star in our constitutional constellation, it is that no official, high or petty, can prescribe what shall

be orthodox in politics, nationalism, religion, or other matters of opinion.” W. Virginia State Bd.

of Educ. v. Barnette, 319 U.S. 624, 642 (1943). “At the heart of the First Amendment lies the

principle that each person should decide for himself or herself the ideas and beliefs deserving of

expression, consideration, and adherence.” Turner Broadcasting System, Inc. v. FCC, 512 U.S.

622, 641 (1994). Neither the federal Executive Branch nor the Judicial Branch, both of which are

bound by the First Amendment, may dictate that such claims are criminally “false.”

        Claims about the integrity of the 2020 Presidential election—including claims that the

election was “rigged” and/or “stolen,” or that fraud and irregularities tainted the outcome in certain

States or across the Nation—implicate all the fundamental First Amendment principles discussed

above. They constitute (1) core political speech (2) expressing a specific disfavored viewpoint (3)

on matters of enormous public concern (4) that relate to a widely disputed historical, social, and

political question (5) that is not readily verifiable or falsifiable. Thus, they lie at the heartland of

the First Amendment’s protection, and the federal government may not dictate whether such

claims are true or false—nor prosecute the purveyors of the allegedly “false” views.

        This is especially true because claims that the 2020 Presidential election was “rigged” or

tainted by fraud and irregularity—unlike the libel claims at issue in McDonald, see supra—do not

involve “easily verifiable facts.” Alvarez, 567 U.S. at 732 (Breyer, J., concurring in the judgment).

Such claims require the assessment of mountains of information from which each person will draw



                                                   15
        Case 1:23-cr-00257-TSC Document 113 Filed 10/23/23 Page 16 of 31




competing inferences based on facts as well as their personal, deep-seated political views and

presuppositions. They are not readily verifiable or falsifiable, they relate to politically charged

issues, and people’s assessment of them is deeply linked to their political predispositions and their

trust in institutions, including governmental institutions. This is why Americans’ opinions on these

issues are profoundly divided, very much to this day. The First Amendment does not permit the

prosecution to dictate what is “true” and what is “false” on such broad, vigorously disputed,

politically charged questions—especially not in the context of a criminal prosecution that

effectively seeks to criminalize a political viewpoint shared by over 100 million Americans.3

       Many millions of reasonable people believe that the 2020 Presidential election was unfairly

rigged against President Trump, and that fraud and other irregularities tainted the election results.

There is abundant public evidence providing a reasonable basis for these opinions. What is critical

is that how one interprets this evidence depends on one’s deep-seated political views, including

one’s trust in government institutions and government officials, among others. Different people

will draw different inferences from such public evidence based on their deep-seated political

views—and that is exactly what the First Amendment permits—even celebrates.4


3
  Almost 40 percent of Americans, including almost 70 percent of Republicans, believe that the
2020 Presidential election was tainted by fraud or irregularity—a number that is increasing and
has increased since 2020. See, e.g., Jennifer Agiesta, et al., CNN Poll: Percentage of Republicans
Who Think Biden’s 2020 Win Was Illegitimate Ticks Back Up Near 70%, CNN (Aug. 3, 2023), at
https://www.cnn.com/2023/08/03/politics/cnn-poll-republicans-think-2020-election-
illegitimate/index.html. “The share of Republicans and Republican-leaning independents who
believe that President Joe Biden’s 2020 election win was not legitimate has ticked back up,
according to a new CNN poll fielded throughout July. … 69% of Republicans and Republican-
leaners say Biden’s win was not legitimate, up from 63% earlier this year and through last fall….
Overall, 61% of Americans say Biden did legitimately win enough votes to win the presidency,
and 38% believe that he did not. Among registered voters who say they cast a ballot for Trump in
2020, 75% say they have doubts about Biden’s legitimacy.” Id.
4
  Compare, e.g., Mollie Hemingway, Rigged: How the Media, Big Tech, and the Democrats Seized
Our Elections (Regnery 2021) (423-page book discussing changes to election procedures, flooding
the system with absentee ballots, use of mail-in ballots without signature verification or other


                                                 16
        Case 1:23-cr-00257-TSC Document 113 Filed 10/23/23 Page 17 of 31




       This unconstitutional dynamic appears on the face of the indictment itself. The indictment

repeatedly alleges that President Trump made “knowingly false claims of election fraud.” Doc. 1,

¶ 7 (emphasis added). But in every case, the indictment’s basis for the allegation that President

Trump’s claims were “knowingly” false is that a member of the political establishment assured

President Trump that they were false. See, e.g., id. ¶¶ 11(a)-(h) (alleging that a series of

government officials assured President Trump that his concerns about the election’s integrity were

unwarranted). Under the First Amendment, President Trump and his supporters are entitled to

mistrust the word of such establishment-based government officials and draw their own inferences

from the facts. And neither the federal Executive Branch (through the prosecution) nor the Judicial

Branch (through this Court) may dictate what President Trump and others are required to believe,

or say, about this hotly disputed political question.

       The prosecution, of course, may come to its own conclusions about such matters. It may

hold hearings and conduct investigations to try to establish its own view and convince others of

them. It may insist that the opinions of others—including President Trump—are wrong, baseless,

stupid—even false and malicious. But it may not require Americans to subscribe to its views or

punish them for expressing and advocating for different views. To do so violates the First

Amendment. Under the First Amendment, the question of whether the 2020 Presidential election


safeguards against fraud, widespread ballot harvesting, censorship by social-media platforms,
private funding of election administration concentrated in Democratic precincts, exclusion of
observers from vote-counting processes, and other developments to argue that the 2020 election
was “rigged” against President Trump), with Molly Ball, The Secret History of the Shadow
Campaign That Saved the 2020 Election, TIME (Feb. 4, 2021), at https://time.com/5936036/secret-
2020-election-campaign/ (feature-length article discussing many of the same developments as
Hemingway’s book; describing “an extraordinary shadow effort” to influence the election against
President Trump, made up of “a well-funded cabal of powerful people … working together behind
the scenes to influence perceptions, change rules and laws, steer media coverage and control the
flow of information”; and concluding that this “shadow effort” and “cabal” provide evidence that
the 2020 election was one of the fairest in modern history).



                                                 17
        Case 1:23-cr-00257-TSC Document 113 Filed 10/23/23 Page 18 of 31




was stolen from President Trump must be decided in “the free marketplace of ideas,” not in

criminal prosecutions. Barr v. Am. Ass’n of Political Consultants, Inc., 140 S. Ct. 2335, 2358

(2020) (Breyer, J., concurring in the judgment with respect to severability and dissenting in part).

       For the foregoing reasons, the indictment violates the First Amendment in toto. It should

be dismissed with prejudice.

II.    President Trump’s Acquittal by the U.S. Senate Bars Criminal Prosecution for
       Offenses Arising from the Same Course of Conduct.

       The indictment must be dismissed because President Trump was impeached, tried by the

Senate, and acquitted on articles of impeachment that arise from the same course of conduct as the

criminal indictment. Under our system of separated powers, the Executive Branch lacks authority

to second-guess the decision of the Legislative Branch on an issue that lies within the Legislative

Branch’s exclusive purview. The Constitution’s plain text, structural principles of separation of

powers, our history and tradition, and principles of Double Jeopardy bar the Executive Branch

from seeking to re-charge and re-try a President who has already been impeached and acquitted in

a trial before the U.S. Senate.

       A.      The text of the Constitution bars the prosecution of a President who has been
               tried and acquitted by the Senate.

       The text of the Constitution straightforwardly provides that only a “Party convicted” by the

Senate may be charged by “Indictment, Trial, Judgment and Punishment”—not a party acquitted.

As the Senate acquitted President Trump, the prosecution may not re-try him in this Court.

       To be removed from office, the President must be convicted by trial in the Senate, which

has exclusive authority under the Constitution for such trials: “The Senate shall have the sole

Power to try all Impeachments. … And no Person shall be convicted without the Concurrence of

two thirds of the Members present.” U.S. CONST. art. I, § 3, cl. 6. “Judgment in Cases of




                                                18
        Case 1:23-cr-00257-TSC Document 113 Filed 10/23/23 Page 19 of 31




Impeachment shall not extend further than to removal from Office, and disqualification to hold

and enjoy any Office of honor, Trust or Profit under the United States: but the Party convicted

shall nevertheless be liable and subject to Indictment, Trial, Judgment and Punishment, according

to Law.” U.S. CONST. art. I, § 3, cl. 7 (emphasis added).

       Because the Constitution specifies that only “the Party convicted” by trial in the Senate

may be “liable and subject to Indictment, Trial, Judgment and Punishment,” id., it presupposes

that a President who is not convicted may not be subject to criminal prosecution. Id. As Justice

Alito notes, “[t]he plain implication” of the phrase “the Party convicted” in this Clause “is that

criminal prosecution, like removal from the Presidency and disqualification from other offices, is

a consequence that can come about only after the Senate’s judgment, not during or prior to the

Senate trial.” Trump v. Vance, 140 S. Ct. 2412, 2444 (2020) (Alito, J., dissenting) (emphasis

added). “This was how Hamilton explained the impeachment provisions in the Federalist Papers.

He wrote that a President may ‘be impeached, tried, and, upon conviction ... would afterwards be

liable to prosecution and punishment in the ordinary course of law.’” Id. (quoting THE FEDERALIST

No. 69, p. 416 (C. Rossiter ed. 1961) (emphasis added)); see also THE FEDERALIST No. 77, at 464

(A. Hamilton) (a President is “at all times liable to impeachment, trial, [and] dismission from

office,” but any other punishment must come only “by subsequent prosecution in the common

course of law”) (emphasis added).

       Justice Alito’s interpretation of the Clause is well-founded. The longstanding canon of

interpretation expressio unius est exclusio alterius (or the “negative-inference canon”) reflects “the

principle that specification of the one implies exclusion of the other validly describes how people

express themselves and understand verbal expression.” SCALIA & GARNER, READING LAW: THE

INTERPRETATION OF LEGAL TEXTS, § 10, p. 107 (2012). “When a car dealer promises a low




                                                 19
        Case 1:23-cr-00257-TSC Document 113 Filed 10/23/23 Page 20 of 31




financing rate to ‘purchasers with good credit,’ it is entirely clear that the rate is not available to

purchasers with spotty credit.” Id. So also here, when the Constitution provides that “the Party

convicted” in the Senate may be subject to criminal prosecution, “it is entirely clear that” the Party

acquitted in a Senate trial “is not” subject to criminal prosecution for official acts. Id. This is true

because the phrase “the Party convicted” “can reasonably be thought to be an expression of all that

shares in the grant or prohibition involved.” Id. Because there are only two possible outcomes from

a Senate trial—conviction or acquittal—specifying the implications of only one outcome clearly

means that those implications do not apply to the other outcome. See id.

        This interpretation reflects the original public meaning of the impeachment clauses. “James

Wilson—who had participated in the Philadelphia Convention at which the document was

drafted—explained that, although the President … is amenable to [the laws] in his private character

as a citizen, and in his public character by impeachment.’” Clinton v. Jones, 520 U.S. 681, 696

(1997) (emphasis added) (quoting 2 J. ELLIOT, DEBATES ON THE FEDERAL CONSTITUTION 480 (2d

ed. 1863) (cleaned up). “With respect to acts taken in his ‘public character’—that is, official acts—

the President may be disciplined principally by impeachment….” Id.

        In addition, in Federalist No. 43, James Madison indicated that concerns about politically

motivated prosecutions led to the adoption of the definition of “treason” in Article III, Section 3,

Clause 1 of the Constitution:

        As treason may be committed against the United States, the authority of the United States
        ought to be enabled to punish it; but as new fangled and artificial treasons, have been the
        great engines, by which violent factions, the natural offspring of free governments, have
        usually wreaked their alternate malignity on each other, the [Constitutional] convention
        have with great judgment opposed a barrier to this peculiar danger, by inserting a
        constitutional definition of the crime, fixing the proof necessary for conviction of it, and
        restraining the congress, even in punishing it, from extending the consequences of guilt
        beyond the person of its author.




                                                  20
        Case 1:23-cr-00257-TSC Document 113 Filed 10/23/23 Page 21 of 31




THE FEDERALIST No. 47 (Madison) (emphasis added). In Federalist No. 65, Alexander Hamilton

explained that the Constitution entrusted impeachment trials to the Senate because the risk of

politically motivated criminal trials, which would inevitably be tainted by factionalism and

partisanship, was too great in the courts, including even the Supreme Court:

       A well constituted court for the trial of impeachments, is an object not more to be desired
       than difficult to be obtained in a government wholly elective. The subjects of its jurisdiction
       are those offenses which proceed from the misconduct of public men, or in other words
       from the abuse or violation of some public trust. They are of a nature which may with
       peculiar propriety be denominated POLITICAL, as they relate chiefly to injuries done
       immediately to the society itself. The prosecution of them, for this reason, will seldom fail
       to agitate the passions of the whole community, and to divide it into parties, more or less
       friendly or inimical, to the accused. In many cases, it will connect itself with the pre-
       existing factions, and will inlist all their animosities, partialities, influence and interest on
       one side, or on the other; and in such cases there will always be the greatest danger, that
       the decision will be regulated more by the compar[a]tive strength of parties than by the real
       demonstrations of innocence or guilt.

THE FEDERALIST No. 65 (Hamilton) (emphasis added). Hamilton went on to argue that even the

Supreme Court should not handle prosecutions of major political figures: “The awful discretion,

which a court of impeachments must necessarily have, to doom to honor or to infamy the most

confidential and the most distinguished characters of the community, forbids the commitment of

the trust to a small number of persons. These considerations seem alone sufficient to authorise a

conclusion, that the Supreme Court would have been an improper substitute for the Senate, as a

court of impeachments.” Id. (emphasis added).

       In addition, treating impeachment as the exclusive remedy for alleged crimes committed

in office is consistent with the Supreme Court’s immunity decisions as to other sensitive officials,

such as federal judges. The Supreme Court has held that judges are absolutely immune from civil

liability and criminal prosecution for their official acts, and that the sole remedy is impeachment:

“But for malice or corruption in their action whilst exercising their judicial functions within the

general scope of their jurisdiction, the judges of these courts can only be reached by public



                                                  21
        Case 1:23-cr-00257-TSC Document 113 Filed 10/23/23 Page 22 of 31




prosecution in the form of impeachment, or in such other form as may be specially prescribed.”

Bradley v. Fisher, 80 U.S. 335, 354 (1871) (emphasis added).

        In Nixon v. Fitzgerald, the Supreme Court reinforced this conclusion by emphasizing that

the proper remedy against a President for official misfeasance is “the threat of impeachment,” not

criminal prosecution:

        A rule of absolute immunity for the President will not leave the Nation without sufficient
        protection against misconduct on the part of the Chief Executive. There remains the
        constitutional remedy of impeachment. In addition, there are formal and informal checks
        on Presidential action…. The President is subjected to constant scrutiny by the press.
        Vigilant oversight by Congress also may serve to deter Presidential abuses of office, as
        well as to make credible the threat of impeachment. Other incentives to avoid misconduct
        may include a desire to earn reelection, the need to maintain prestige as an element of
        Presidential influence, and a President’s traditional concern for his historical stature.

Nixon v. Fitzgerald, 457 U.S. 731, 757 (1982). See also, e.g., Bradley v. Fisher, 80 U.S. 335, 354

(1871) (“But for malice or corruption in their action whilst exercising their judicial functions

within the general scope of their jurisdiction, the judges of these courts [i.e., Article III courts] can

only be reached by public prosecution in the form of impeachment, or in such other form as may

be specially prescribed.”).

        Here, President Trump is not a “Party convicted” in an impeachment trial by the Senate.

U.S. CONST. art. I, § 3, cl. 7. In January 2021, he was impeached by the House on articles arising

from the same course of conduct at issue in the indictment. H. RES. 24 (117th Cong. 1st Sess.), at

https://www.congress.gov/bill/117th-congress/house-resolution/24/text. Among other things, the

articles of impeachment charged that President Trump “repeatedly issued false statements

asserting that the Presidential election results were the product of widespread fraud and should not

be accepted by the American people or certified by State or Federal officials;” made “false claims”

in a speech on January 6; engaged in “prior efforts to subvert and obstruct the certification of the

results of the 2020 Presidential election,” including through a phone call to the Georgia secretary



                                                   22
         Case 1:23-cr-00257-TSC Document 113 Filed 10/23/23 Page 23 of 31




of state; and “threatened the integrity of the democratic system.” Id. The indictment here rests on

the very same alleged facts. President Trump was acquitted of these charges after trial in the

Senate. He is thus not a “Party convicted” under Article I, Section 3, Clause 7, and he is not subject

to “Indictment, Trial, Judgment and Punishment” for the same course of conduct. U.S. CONST. art.

I, § 3, cl. 7.

         In sum, under the Constitution, the Executive Branch—including the prosecution—lacks

authority to second-guess the determination of acquittal made by the United States Senate, the

body to which the Constitution explicitly entrusts this authority. To do so violates the Impeachment

Clause and the principles of separation of powers, by unlawfully encroaching on authority

exclusively vested in Congress. See Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 585-

89 (1952). “The Founders of this Nation entrusted the [impeachment] power to the Congress alone

in both good and bad times.” Id. at 589.

         B.      The Prosecution Is Barred by Principles of Double Jeopardy.

         Applying principles of double jeopardy leads to the same conclusion. The Fifth

Amendment states, “nor shall any person be subject for the same offence to be twice put in

jeopardy of life or limb.” U.S. CONST. amend. V. The Clause prevents the same sovereign from

subjecting a defendant to multiple, sequential charges based on the same operative facts or the

same course of conduct. See, e.g., United States v. Coughlin, 610 F.3d 89, 95 (D.C. Cir. 2010)

(holding that “a prong of double jeopardy analysis known as ‘issue preclusion’ … bars the

government from prosecuting a defendant on a charge that depends on facts that a previous

acquittal on a different charge necessarily decided in the defendant’s favor”). Under those

principles, the prosecution cannot proceed against President Trump for conduct of which he was

acquitted by the Senate.




                                                 23
        Case 1:23-cr-00257-TSC Document 113 Filed 10/23/23 Page 24 of 31




       The fact that different branches of the federal government are at issue makes no difference.

“In applying the dual sovereignty doctrine, then, the crucial determination is whether the two

entities that seek successively to prosecute a defendant for the same course of conduct can be

termed separate sovereigns. This determination turns on whether the two entities draw their

authority to punish the offender from distinct sources of power.” Heath v. Alabama, 474 U.S. 82,

88 (1985). With respect to the federal government and the States, there are distinct sovereignties:

“The States are no less sovereign with respect to each other than they are with respect to the Federal

Government. Their powers to undertake criminal prosecutions derive from separate and

independent sources of power and authority originally belonging to them before admission to the

Union and preserved to them by the Tenth Amendment.” Id. at 89. The same is not true, however,

with respect to different branches of the federal government, all of which derive their power from

the same source—the U.S. Constitution. See id. Thus, the Executive and Judicial Branches cannot

seek to place President Trump in jeopardy for conduct of which the Legislative Branch has

absolved him—all three Branches are co-equal parts of the same “sovereign” deriving their “power

and authority” from the same “source[].” Id.

       The government—through Congress—already put President Trump on trial once, placing

him in jeopardy for an alleged criminal offense arising from the same course of conduct alleged in

the indictment.5 Having failed to obtain a conviction, President Trump’s acquittal in the United

States Senate must stand, and the prosecution may not seek a retrial in this forum.




5
 See U.S. CONST. art. III, § 2, cl. 3 (referring to impeachment trials as trials for crimes – “[t]he
Trial of all Crimes, except in Cases of Impeachment, shall be by Jury. . .”).


                                                  24
        Case 1:23-cr-00257-TSC Document 113 Filed 10/23/23 Page 25 of 31




III.    The Indictment Violates the Fair Notice Doctrine of the Due Process Clause.

        The indictment charges President Trump with crimes arising from his political advocacy

on matters of public concern made in the middle of a disputed Presidential campaign and election.

President Trump’s actions were inspired by and fully consistent with examples from many similar

contested election disputes in our Nation’s history. There is a long history in our Nation—dating

back to 1800 and encompassing elections in 1800, 1824, 1876, 1960, 2000, 2004, and 2016, among

many others—of disputing the outcome of close Presidential elections, publicly claiming that

election results were tainted by fraud, filing legal actions to challenge election results, lobbying

Congress to certify disputed election results in one side’s favor or the other, and organizing

alternate, contingent slates of electors to assist in such efforts. In other words, all the chief alleged

acts charged in the indictment have a long historical pedigree in American electoral history, and

they have long been decided in the political arena. President Trump is the first person to face

criminal charges for such core political behavior as disputing the outcome of an election. He is

charged, moreover, under statutes that facially have nothing to do with his alleged conduct, and

whose language the Special Prosecutor stretches beyond recognition. See President Trump’s

Motion to Dismiss Based on Statutory Grounds (filed separately) (“Statutory Mot.”). As a result,

President Trump could not possibly have received fair notice that his conduct was supposedly

criminal when he performed it. The indictment should be dismissed with prejudice for violation of

the fair notice requirement of the Due Process Clause.

        “[A] criminal statute must give fair warning of the conduct it makes a crime.” Bouie v. City

of Columbia, 378 U.S. 347, 350–51 (1964). “The underlying principle is that no man shall be held

criminally responsible for conduct which he could not reasonably understand to be proscribed.”

United States v. Harriss, 347 U.S. 612, 617 (1954). The Supreme Court has compared the “fair




                                                   25
        Case 1:23-cr-00257-TSC Document 113 Filed 10/23/23 Page 26 of 31




warning” standard to the “clearly established” standard applied to civil cases under § 1983 or

Bivens cases. United States v. Lanier, 520 U.S. 259, 271–72 (1997). To be clearly established,

“existing precedent must have placed the statutory or constitutional question beyond debate.”

Ashcroft v. al-Kidd, 563 U.S. 731, 741 (2011).

       The fair-notice requirement cannot be satisfied by post-conduct judicial interpretation of

the statutes at issue. “If the Fourteenth Amendment is violated when a person is required ‘to

speculate as to the meaning of penal statutes,’ … or to ‘guess at (the statute’s) meaning and differ

as to its application,’ … the violation is that much greater when, because the uncertainty as to the

statute’s meaning is itself not revealed until the court’s decision, a person is not even afforded an

opportunity to engage in such speculation before committing the act in question.” Bouie, 378 U.S.

at 352 (citations omitted). “There can be no doubt that a deprivation of the right of fair warning

can result not only from vague statutory language but also from an unforeseeable and retroactive

judicial expansion of narrow and precise statutory language.” Id.; see also Rogers v. Tennessee,

532 U.S. 451, 457 (2001) (“Deprivation of the right to fair warning … can result both from vague

statutory language and from an unforeseeable and retroactive judicial expansion of statutory

language that appears narrow and precise on its face.”); Karem v. Trump, 960 F.3d 656, 666 (D.C.

Cir. 2020) (“Although courts routinely ‘clarify the law and apply that clarification to past

behavior,’ ‘the principle of fair warning requires that novel standards announced in adjudications

must not be given retroactive effect ... where they are unexpected and indefensible by reference to

the law which had been expressed prior to the conduct in issue[.]’”) (alterations and citations

omitted).

       This principle of fair notice has special force here, where the lack of fair notice directly

implicates First Amendment rights. See supra Part I. “The general test of vagueness applies with




                                                 26
        Case 1:23-cr-00257-TSC Document 113 Filed 10/23/23 Page 27 of 31




particular force in review of laws dealing with speech. Stricter standards of permissible statutory

vagueness may be applied to a statute having a potentially inhibiting effect on speech….” Hynes

v. Mayor & Council of Borough of Oradell, 425 U.S. 610, 620 (1976)) (modifications omitted);

see also, e.g., Buckley v. Valeo, 424 U.S. 1, 77 (1976) (“Due process requires that a criminal statute

provide adequate notice to a person of ordinary intelligence that his contemplated conduct is

illegal…. Where First Amendment rights are involved, an even ‘greater degree of specificity’ is

required.”); NAACP v. Button, 371 U.S. 415, 432 (1963) (“[S]tandards of permissible statutory

vagueness are strict in the area of free expression.”); Nebraska Press Ass’n v. Stuart, 427 U.S. 539,

568 (1976).

       Here, President Trump’s alleged conduct—publicly and politically disputing the outcome

of the election, attempting to convince Congress to act, and allegedly organizing alternate slates

of electors—falls outside the plain language of the charged statutes, as discussed in President

Trump’s Motion to Dismiss Based on Statutory Grounds, filed separately. See Statutory Mot. No

court has ever applied these statutes to similar conduct. And the statutes’ meaning cannot be

expanded by judicial re-interpretation after the fact without violating the Due Process Clause’s

fair-notice requirement.

       The extensive history of disputing elections in our Nation further demonstrates that none

of these statutes provide fair notice that the alleged conduct is criminal. As for public statements

and claims that the Presidential election was rigged and fraudulent, such claims have been a staple

of American political discourse for decades. As one commentator has quipped, “If questioning the

results of a presidential election were a crime, as many have asserted in the wake of the

controversial 2020 election and its aftermath, then much of the Democratic Party and media

establishment should have been indicted for their behavior following the 2016 election. In fact, the




                                                 27
        Case 1:23-cr-00257-TSC Document 113 Filed 10/23/23 Page 28 of 31




last time Democrats fully accepted the legitimacy of a presidential election they lost was in 1988.”

Hemingway, supra, at vii.6 Democratic members of Congress have voted to refuse to certify

electors after the elections of 2004 and 2016, and there have been extensive attempts to submit

alternate electors and dispute the outcome of Republican Presidential victories in recent decades.7


6
  See, e.g., Ari Berman, Hillary Clinton on Trump’s Election: “There Are Lots of Questions about
Its        Legitimacy”,          Mother         Jones         (Nov.        17,         2017),      at
https://www.motherjones.com/politics/2017/11/hillary-clinton-on-trumps-election-there-are-lots-
of-questions-about-its-legitimacy/ (“A year after her defeat by Donald Trump in the 2016
presidential election, Hillary Clinton says ‘there are lots of questions about its legitimacy’…”); “I
Would Be Your President”: Clinton Blames Russia, FBI Chief for 2016 Election Loss, National
Post (May 2, 2017), at https://nationalpost.com/news/world/i-would-be-your-president-clinton-
blames-russia-fbi-chief-for-2016-election-loss (noting Clinton “declaring herself ‘part of the
resistance’ to Donald Trump’s presidency” as an “activist citizen”); Dan Mangan, Democratic
Party Files Suit Alleging Russia, the Trump Campaign, and WikiLeaks Conspired to Disrupt the
2016 Election, CNBC (Apr. 20, 2018), at https://www.cnbc.com/2018/04/20/democratic-party-
files-suit-alleging-russia-the-trump-campaign-and-wikileaks-conspired-to-disrupt-the-2016-
election-report.html (“The Democratic Party on Friday sued President Donald Trump’s
presidential campaign, the Russian government and the Wikileaks group, claiming a broad illegal
conspiracy to help Trump win the 2016 election.”); Rachael Revesz, Computer Scientists Say They
Have Strong Evidence Election Was Rigged against Clinton in Three Key States, Independent
(Nov. 23, 2016), at https://www.independent.co.uk/news/world/americas/wisconsin-michigan-
pennsylvania-election-hillary-clinton-hacked-manipulated-donald-trump-swing-states-scientists-
lawyers-a7433091.html (“A group of renowned computer scientists and lawyers have urged
Hillary Clinton to challenge the election results in three key states after they gathered ‘evidence’
to suggest the election results were potentially manipulated.”); see also Dan Merica, Clinton Opens
Door to Questioning Legitimacy of 2016 Election, CNN.com (Sept. 18, 2017), at
https://www.cnn.com/2017/09/18/politics/hillary-clinton-russia-2016-election/index.html; Sean
Davis, Nearly Half of Democrats Think the 2016 Election Was “Rigged”, The Federalist (Nov.
18, 2016), at https://thefederalist.com/2016/11/18/nearly-half-democrats-think-election-rigged/.
7
  Bob Franken, Democrats Challenge Certification of Florida Bush-Gore Election Results,
CNN.com                        (Nov.                   16,                 2000),                  at
http://www.cnn.com/2000/LAW/11/16/certification.update.02.pol/index.html (noting “Florida
Democrats and Al Gore presidential campaign…challenging the certification of election results in
the tightly contested state); Jill Zuckman, et al., Black Caucus Can’t Block the Final Tally, Chicago
Tribune (Jan. 7, 2001), at https://www.chicagotribune.com/news/ct-xpm-2001-01-07-
0101070449-story.html (“members of the Congressional Black Caucus on Saturday tried to stop
the formal recording of the Electoral College tally during a joint session of Congress… lawmakers
who supported [Democrat Al Gore] for president objected vociferously to the proceedings. One
after another, the representatives rose to prevent the electoral votes from Florida from being
counted.”); Ted Barrett, Democrats Challenge Ohio Electoral Votes, CNN.com (Jan. 6, 2005), at
https://www.cnn.com/2005/ALLPOLITICS/01/06/electoral.vote.1718/ (“Alleging widespread


                                                 28
        Case 1:23-cr-00257-TSC Document 113 Filed 10/23/23 Page 29 of 31




       Additional historic precedent in close and contested elections supports the lawfulness of

the actions alleged in the indictment. For example, in the disputed elections of both 1876 and 1960,

competing slates of electors were sent to Congress. William Josephson & Beverly J. Ross,

Repairing the Electoral College, 22 J. LEGIS. 145, 156-57, 166 (1996); see also 146 CONG. REC.

E2180 (daily ed. Dec. 13, 2000) (statement of Rep. Mink) (“Based on the earlier certified results

[in Hawaii in 1960], the Republican electors met and cast their three votes for Nixon. The

Democratic electors also met and cast their votes for Kennedy even though they did not have a

certificate of election from the State.”) (emphasis added). In 1800, Vice President Jefferson

unilaterally made the decision to accept questionable electoral votes from Georgia that favored

him. Bruce Ackerman and David Fontana, How Jefferson Counted Himself In, THE ATLANTIC

(Mar. 2004), at https://www.theatlantic.com/magazine/archive/2004/03/how-jefferson-counted-

himself-in/302888/. In 1824, when his disputed election with Andrew Jackson was decided in the

House of Representatives, President John Quincy Adams successfully lobbied the House to decide

the election in his favor—even though Jackson far exceeded his totals in both the popular vote and

electoral college—so successfully, in fact, that Jackson’s supporters accused him of striking a



‘irregularities’ on Election Day, a group of Democrats in Congress objected Thursday to the
counting of Ohio's 20 electoral votes, delaying the official certification of the 2004 presidential
election results.”); Brenna Williams, 11 Times VP Biden Was Interrupted during Trump’s
Electoral        Vote       Certification,       CNN.com        (Jan.       6,      2017),       at
https://www.cnn.com/2017/01/06/politics/electoral-college-vote-count-objections/index.html
(“During the course of the certification, House Democrats tried to object to electoral votes from
multiples states” claiming, inter alia, “electors were not lawfully certified”); Rachael Revesz,
Computer Scientists Say They Have Strong Evidence Election Was Rigged against Clinton in Three
Key            States,         Independent             (Nov.        23,          2016),          at
https://www.independent.co.uk/news/world/americas/wisconsin-michigan-pennsylvania-
election-hillary-clinton-hacked-manipulated-donald-trump-swing-states-scientists-lawyers-
a7433091.html (“So far, six electoral college voters said they would not vote for Mr Trump.
Meanwhile more than 4.5 million people have signed a petition for more electoral college delegates
to defy the instructions given to them in their state.”).



                                                29
        Case 1:23-cr-00257-TSC Document 113 Filed 10/23/23 Page 30 of 31




“corrupt bargain” with House Speaker Henry Clay, whom Adams soon appointed Secretary of

State. And in 1960, Vice President Nixon—himself a candidate—decided which competing slate

of electors to accept from Hawaii. Herb Jackson, What Happens When a State Can’t Decide on its

Electors, ROLL CALL (Oct. 26, 2020), at https://rollcall.com/2020/10/26/we-the-people-what-

happens-when-a-state-cant-decide-on-its-electors/; see also 146 CONG. REC. E2180 (daily ed. Dec.

13, 2000) (statement of Rep. Mink) (“Vice President Nixon, sitting as the presiding officer of the

joint convention of the two Houses, suggested that the electors named in the certificate of the

Governor dated January 4, 1961 be considered the lawful electors from Hawaii. There was no

objection to the Vice President’s suggestion . . .”). In the 2000 election contest, three Supreme

Court justices pointed to the Hawaii situation in 1960 to emphasize that competing slates of

electors could be submitted to Congress and that Congress could make the decision on which slate

to accept:

               But, as I have already noted, those provisions [of the Electoral Count
               Act] merely provide rules of decision for Congress to follow when
               selecting among conflicting slates of electors. They do not prohibit
               a State from counting what the majority concedes to be legal votes
               until a bona fide winner is determined. Indeed, in 1960, Hawaii
               appointed two slates of electors and Congress chose to count the
               one appointed on January 4, 1961, well after the Title 3 deadlines.

Bush, 531 U.S. 98, 127 (2000) (Stevens, J., dissenting) (internal citations omitted) (emphasis

added). In addition, the actions charged in the indictment against President Trump were consistent

with the provisions of the then-current version of the Electoral Count Act, as it then provided

before its recent revisions. 3 U.S.C. § 15 (2020). Indeed, the very fact that Congress decided to

amend the Electoral Count Act at all demonstrates that it did not prohibit (let alone criminalize)

mechanisms such as alternate electors or lobbying the Vice President, all of which further proves

that this criminal prosecution violates the fair notice provisions of the Due Process Clause.



                                                30
       Case 1:23-cr-00257-TSC Document 113 Filed 10/23/23 Page 31 of 31




       At the time of the allegations in the indictment, the only relevant judicial precedent, from

2000, treated post-election challenges as lawful and included a dissent arguing that competing

elector slates could be submitted to Congress for Congress to decide which to accept. Furthermore,

the actions listed in the Indictment had been performed in 1800, 1824, 1876, and 1960, among

others, without any suggestion they were criminal. Scores of people have been involved in similar

conduct over the years of American history, and none has faced criminal prosecution. On these

facts, at best, “men of common intelligence must necessarily guess” if President Trump’s conduct

violated the statute, and the charges thus violate the Due Process Clause. Hynes, 425 U.S. at 620

(quoting Connally v. General Constr. Co., 269 U.S. 385, 391 (1926)).

                                        CONCLUSION

       The Court should dismiss the indictment with prejudice.




 Dated: October 23, 2023                          Respectfully submitted,


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                                               31
